Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 1 of 110
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 2 of 110




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


HOSPITALITY         INSURANCE  :
COMPANY                        :
106 Southville Road            :
Southborough, MA 01772         :
                               :
                 v.            : NO.
                               :
CARLEY’S NEIGHBORHOOD BAR :
AND GRILL, LLC d/b/a DARA AND :
JACK’S PLACE, and d/b/a JACK’S :
PLACE                          : JURY TRIAL DEMANDED
464 Hollywell Avenue           :
Chambersburg, PA 17201         :
                               :
                    and        :
                               :
TARAY WILKERSON                :
714 Lincoln Way East           :
Chambersburg, PA 17201         :
                               :
                    and        :
                               :
ESAU LASHOW SCOTT              :
              nd
808 North 32 Street            :
Fort Pierce, FL 34947          :

              COMPLAINT FOR DECLARATORY JUDGMENT
      Plaintiff, Hospitality Insurance Company, (“HIC”), by and through its

undersigned counsel hereby requests that this Honorable Court grant it declaratory

relief as follows:
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 3 of 110



                   INTRODUCTION AND JURISDICTION

      1.    This is an action seeking a declaratory judgment pursuant to 28 U.S.C.

§ 2201 et seq. to determine whether HIC is obligated to defend and/or indemnify

Carley’s Neighborhood Bar and Grill, LLC, d/b/a Dara and Jack’s Place and d/b/a

Jack’s Place, against an underlying lawsuit pending in the Court of Common Pleas

of Franklin County at docket number 2017-4092, and captioned, Taray Wilkerson v.

Carley’s Neighborhood Bar and Grill, LLC, et al. (“the Wilkerson Action”). See

Exhibit A, Complaint filed in the Wilkerson Action.

      2.    HIC is currently providing a defense to Carley’s Neighborhood Bar and

Grill, LLC, Dara and Jack’s Place, and Jack’s Place (“the Insureds”) under HIC’s

Policy No. 37004410GL in effect from December 31, 2014 through December 31,

2015 (“the HIC Policy”). See Exhibit B, HIC Policy (premiums redacted).

      3.    HIC is a corporation incorporated under the laws of the Commonwealth

of Massachusetts, with a principal place of business located at 106 Southville Road,

Southborough, MA 01772.

      4.    Carley’s Neighborhood Bar and Grill, LLC is a Pennsylvania Limited

Liability Company whose sole member, upon information and belief, is Dara Taylor,

who is a resident and citizen of the Commonwealth of Pennsylvania.

      5.    Carley’s Neighborhood Bar and Grill, LLC, upon information and

belief, has no members who are citizens of the Commonwealth of Massachusetts or


                                         2
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 4 of 110



who are individuals lawfully admitted to the United States domiciled in the

Commonwealth of Massachusetts.

      6.     It is averred, upon information and belief, that Carley’s Neighborhood

Bar and Grill, LLC does business as Dara and Jack’s Place and Jack’s Place.

      7.     Taray Wilkerson is an adult individual and citizen of the

Commonwealth of Pennsylvania who resides at 714 Lincoln Way, Chambersburg,

PA 17201.

      8.     Esau Lashow Scott is an adult individual and citizen of the State of

Florida who resides at 808 North 32nd Street, Fort Pierce, Florida 34947.

      9.     The amount in controversy exceeds $75,000.00 in that the Wilkerson

Action seeks damages in excess of $50,000.00 for alleged orbital fractures;

laceration to the left eye; injuries to the head, face and eyes; vision impairment;

scarring to the face and head; and neurological and emotional injuries to Taray

Wilkerson; and, the HIC policy in question has an “each occurrence” limit of

$1,000,000.00. Thus, this court has jurisdiction pursuant to 28 U.S.C. § 1332(a).

                         THE WILKERSON ACTION

      10.    On October 25, 2017, Taray Wilkerson filed a complaint in the

Wilkerson Action naming as defendants Dara and Jack’s Place, Carley’s

Neighborhood Bar and Grill, LLC, Jack’s Place, and Esau Lashow Scott. See

Exhibit A.


                                         3
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 5 of 110



      11.    The Wilkerson Complaint alleges that Dara and Jack’s Place, Carley’s

Neighborhood Bar and Grill, LLC, and Jack’s Place (collectively, “the Bar

Defendants”) owned, operated, possessed or controlled a bar/tavern located at 464

Hollywell Avenue, Chambersburg, PA 17201. See Exhibit A at ¶¶ 2, 5, 8.

      12.    The Wilkerson Complaint alleges alternatively that at the time of the

incident in question, Esau Lashow Scott was a customer or an employee of the bar.

See Exhibit A at ¶ 11.

      13.    The Wilkerson Complaint alleges that on November 6, 2015 at 1:30

AM, employees of the Bar Defendants “instigated a fight” in which Esau Lashow

Scott participated, resulting in injury to Taray Wilkerson. See Exhibit A at ¶¶ 30-

32.

      14.    In particular, the Wilkerson Complaint alleges that Taray Wilkerson

was injured when she was “struck with a pool and/or billiards ball on or about

various parts of her body,” and was also “struck” “with great force and violence”

and “knocked … to the ground.” See Exhibit A at ¶¶ 19.

      15.    The Wilkerson Complaint alleges that Esau Lashow Scott is liable for

the injury to Ms. Wilkerson by, inter alia, “striking, assaulting and battering [Taray

Wilkerson] while she was at the tavern,” and “striking [Taray Wilkerson] in the face

with a pool and billiards ball.” See Exhibit A at ¶¶ 69(m, p).

      16.    The Wilkerson Complaint alleges in Counts I, II and III that each of the


                                          4
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 6 of 110



Bar Defendants was negligent in, inter alia, failing to employ proper staff, failing to

monitor the alcohol intake of their guests, failing to train their employees in the

handling of emergency situations, failing to remove rowdy patrons from the

premises, negligently serving alcohol to intoxicated patrons, and violating the Liquor

Code. See Exhibit A at ¶¶ 36, 47, 58.

      17.    The Wilkerson Complaint alleges in Count IV that Esau Lashow Scott

was negligent in, inter alia, causing a fight, drinking intoxicating liquors in a careless

manner, “striking, assault and battering” Taray Wilkerson, and striking Taray

Wilkerson in the face with the billiards ball. See Exhibit A at ¶ 69.

      18.    Count V of the Wilkerson Complaint alleges Assault and Battery

against all of the defendants, and Count VI of the Wilkerson Complaint alleges

Conspiracy against all of the defendants. See Exhibit A at ¶¶ 79-87.

      19.    The Wilkerson Complaint seeks damages in excess of $50,000.00 for

alleged injuries to Taray Wilkerson in the form of orbital fractures; laceration to the

left eye; injuries to the head, face and eyes; vision impairment; scarring to the face

and head; and neurological and emotional injuries.

      20.    Upon information and belief, on June 29, 2016, Esau Lashow Scott was

found guilty of Simple Assault, 18 Pa. Cons. Stat. Ann. § 2701(a)(1), for

“attempt[ing] to cause or intentionally, knowingly or recklessly caus[ing] bodily

injury to another,” and Disorderly Conduct, 18 Pa. Cons. Stat. Ann. § 5503(A)(1),


                                            5
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 7 of 110



for “engaging in fighting or threatening, or in violent or tumultuous behavior,” in

connection with the incident described in the Wilkerson Complaint. See Exhibit C,

Criminal Dockets.

      21.   As a result of the criminal convictions, upon information and belief,

Esau Lashow Scott was sentenced to, inter alia, two terms of six to twelve months

confinement to be served consecutively. See Exhibit C, Criminal Dockets.

                                THE HIC POLICY

      22.   The HIC Policy is issued to the named insured, Carley’s Neighborhood

Bar & Grill LLC d/b/a Jack and Dara’s. See Exhibit B at Declarations.

      23.   Under “COVERAGE A BODILY INJURY AND PROPERTY

DAMAGE LIABILITY” the HIC Policy contains the following insuring agreement:

      1. Insuring Agreement

            a.    We will pay those sums that the insured becomes legally
                  obligated to pay as damages because of "bodily injury" or
                  "property damage" to which this insurance applies. We
                  will have the right and duty to defend the insured against
                  any "suit" seeking those damages. However, we will have
                  no duty to defend the insured against any "suit" seeking
                  damages for "bodily injury" or "property damage" to
                  which this insurance does not apply.
            . . . .

            b.      This insurance applies to "bodily injury" and "property
                    damage" only if:
                    (1) The "bodily injury" or "property damage" is caused
                          by an "occurrence" that takes place in the "coverage
                          territory";
                    (2) The "bodily injury" or "property damage" occurs
                                          6
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 8 of 110



                          during the policy period; and
                   (3)    Prior to the policy period, no insured listed under
                          Paragraph 1. of Section II – Who Is An Insured and
                          no "employee" authorized by you to give or receive
                          notice of an "occurrence" or claim, knew that the
                          "bodily injury" or "property damage" had occurred,
                          in whole or in part. If such a listed insured or
                          authorized "employee" knew, prior to the policy
                          period, that the "bodily injury" or "property
                          damage" occurred, then any continuation, change or
                          resumption of such "bodily injury" or "property
                          damage" during or after the policy period will be
                          deemed to have been known prior to the policy
                          period. c. "Bodily injury" or "property damage"
                          which occurs during the policy period and was not,
                          prior to the policy period, known to have occurred
                          by any insured listed under Paragraph 1. of Section
                          II – Who Is An Insured or any "employee"
                          authorized by you to give or receive notice of an
                          "occurrence" or claim, includes any continuation,
                          change or resumption of that "bodily injury" or
                          "property damage" after the end of the policy
                          period.

See Exhibit B at Form CG 00 01 12 07, p. 1 of 16.

      24.    The HIC Policy defines “occurrence” as “an accident, including

continuous or repeated exposure to substantially the same general harmful

conditions.” See Exhibit B at Form CG 00 01 12 07, p. 14 of 16.

      25.    The HIC Policy contains an exclusion for “Expected or Intended

Injury,” which recites that “This insurance does not apply to:”

      a.    Expected or Intended Injury
      "Bodily injury" or "property damage" expected or intended from the
      standpoint of the insured. This exclusion does not apply to "bodily
      injury" resulting from the use of reasonable force to protect persons or
                                         7
      Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 9 of 110



      property.

See Exhibit B at Form CG 00 01 12 07, ¶ 2(a), p. 2 of 16.

      26.      As modified by “THE AMENDMENT OF LIQUOR LIABILITY

EXCLUSION” endorsement, the HIC Policy contains an exclusion for “Liquor

Liability,” reciting that “This insurance does not apply to:”

      a. “Bodily injury” for which any insured may be held liable by reason
         of:

      (1) Causing or contributing to the intoxication of any person;
      (2) The furnishing of alcoholic beverages to a person under the legal
          drinking age or under the influence of alcohol; or
      (3) Any statute, ordinance or regulation relating to the sale, gift,
          distribution or use of alcoholic beverages.

            This exclusion applies only if you are in the business of
            manufacturing, distributing, selling, serving or furnishing alcoholic
            beverages.

See Exhibit B at Endorsement Form CG 002 05 12.

      27.      As modified by the “Assault and Battery Exclusion Endorsement,” the

HIC Policy contains an exclusion for “Assault and/or Battery,” reciting:

                   ASSAULT AND/OR BATTERY EXCLUSION

      The coverage under this policy does not apply to any claim, suit, cost
      or expense arising out of assault and/or battery, or out of any act or
      omission in connection with the prevention or suppression of such acts,
      whether caused by or at the instigation or direction of any Insured or
      Insured’s employees, patron, or any other person. Nor does this
      insurance apply with respect to any charges or allegations of negligent
      hiring, training, placement or supervision. Furthermore, assault and/or
      battery includes “bodily injury” resulting from the use of reasonable
      force to protect persons or property. “This exclusion does not apply to
                                            8
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 10 of 110



      “bodily injury” resulting from the use of reasonable force to protect
      persons of property.”

See Exhibit B at Endorsement Form CG-NH-200 11/11.

      28.    As modified by the “EXCLUSION – AHTLETIC OR SPORTS

PARTICIPANTS” endorsement, the HIC Policy contains an exclusion for “Athletic

or Sports Participants,” reciting:

          EXCLUSION – ATHLETIC OR SPORTS PARTICIPANTS

      This endorsement modifies insurance provided under the following:

             COMMERCIAL GENERAL LIABILTY COVERAGE PART.

      ***

      With respect to any operations shown in the Schedule, this insurance
      does not apply to “bodily injury” to any person while practicing for or
      participating in any sports or athletic contest or exhibition that you
      sponsor.

See Exhibit B at Endorsement Form CG 21 01 11 85.

      29.    HIC assumed the defense of Carly’s Neighborhood Bar and Grill, LLC,

Dara and Jack’s Place, and Jack’s Place against the Wilkerson Action subject to a

reservation of rights.

                              COUNT I
                      DECLARATORY JUDGMENT
                 ASSAULT AND/OR BATTERY EXCLUSION

      30.    HIC incorporates by reference paragraphs 1 through 29 of this

complaint as if fully set forth here at length.


                                            9
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 11 of 110



      31.    Under Pennsylvania law, an insurer’s duty to defend an insured is

determined by the allegations of the complaint in question.

      32.    The allegations of the Wilkerson Complaint constitute a suit “arising

out of assault and/or battery,” including “act[s] or omission[s] in connection with

the prevention or suppression of such acts,” and further seeks to recover based on

“allegations of negligent hiring, training, placement or supervision,” within the

meaning of the Assault and/or Battery Exclusion to the HIC Policy, such that HIC is

entitled to a declaration that it has no obligation under the HIC Policy to defend or

indemnify Carly’s Neighborhood Bar and Grill, LLC, Dara and Jack’s Place, and

Jack’s Place against the Wilkerson Action.

      33.    In the event that HIC owes a duty to defend the Insureds, it is averred

that the Wilkerson Action seeks to recover for bodily injury falling within the scope

of the Assault and/or Battery Exclusion to the HIC Policy, such that HIC is entitled

to a declaration that it has no obligation under the HIC Policy to indemnify Carly’s

Neighborhood Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against

any settlement or judgment that may be entered in the Wilkerson Action.

      WHEREFORE, plaintiff, Hospitality Insurance Company, requests that

judgment be entered in its favor, and that the Court enter an order declaring that

Hospitality Insurance Company is not required to defend or indemnify Carly’s

Neighborhood Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against


                                         10
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 12 of 110



the Wilkerson Action.

                               COUNT II
                      DECLARATORY JUDGMENT
               EXPECTED OR INTENDED INJURY AND LACK OF
                             OCCURRENCE

      34.    HIC incorporates by reference paragraphs 1 through 33 of this

complaint as if fully set forth here at length.

      35.    The Wilkerson Complaint alleges that all defendants, including the

Insureds, engaged in the intentional tort of Assault and Battery.

      36.    If it is determined that the bodily injuries alleged in the Wilkerson

Action were expected or intended from the standpoint of the Insureds, the Expected

or Intended Injury exclusion to the HIC Policy applies, such that HIC is entitled to a

declaration that it has no obligation under the HIC Policy to indemnify Carly’s

Neighborhood Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against

any settlement or judgment that may be entered in the Wilkerson Action.

      37.    Additionally, if it is determined that the Insureds engaged in Assault or

Battery or that the bodily injury was otherwise intended by the Insureds, the bodily

injury alleged was not caused by an “occurrence” within the meaning of the insuring

agreement to the HIC policy, such that HIC is entitled to a declaration that it has no

obligation under the HIC Policy to indemnify Carly’s Neighborhood Bar and Grill,

LLC, Dara and Jack’s Place, and Jack’s Place against any settlement or judgment

that may be entered in the Wilkerson Action.
                                           11
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 13 of 110



      WHEREFORE, plaintiff, Hospitality Insurance Company, requests that

judgment be entered in its favor, and that the Court enter an order declaring that

Hospitality Insurance Company is not required to indemnify Carly’s Neighborhood

Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against any judgment

or settlement that may be entered in the Wilkerson Action.

                                    COUNT III
                             DECLARATORY JUDGMENT
                           LIQUOR LIABILITY EXCLUSION

      38.    HIC incorporates by reference paragraphs 1 through 37 of this

complaint as if fully set forth here at length.

      39.    The Wilkerson Complaint alleges that the Insureds negligently served

alcohol to visibly intoxicated patrons, failed to monitor the alcohol intake of its

patrons, and otherwise violated the Liquor Code.

      40.    If it is determined these allegations are true, the Insureds will be held

liable by reason of “causing or contributing to the intoxication of any person” and/or

by reason of a “statute, ordinance or regulation relating to the sale, gift, distribution

or use of alcoholic beverages” within the meaning of Liquor Liability exclusion to

the HIC Policy such that HIC is entitled to a declaration that it has no obligation

under the HIC Policy to indemnify Carly’s Neighborhood Bar and Grill, LLC, Dara

and Jack’s Place, and Jack’s Place against any settlement or judgment that may be

entered in the Wilkerson Action.


                                           12
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 14 of 110



      WHEREFORE, plaintiff, Hospitality Insurance Company, requests that

judgment be entered in its favor, and that the Court enter an order declaring that

Hospitality Insurance Company is not required to indemnify Carly’s Neighborhood

Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against any judgment

or settlement that may be entered in the Wilkerson Action.

                              COUNT IV
                      DECLARATORY JUDGMENT
             ATHLETICS OR SPORTS PARTICIPANTS EXCLUSION

      41.    HIC incorporates by reference paragraphs 1 through 40 of this

complaint as if fully set forth here at length.

      42.    Upon information and belief, the incident at issue in the Wilkerson

Action took place during the course of a billiards game being conducted at the

Insureds’ bar.

      43.    If it is determined that the bodily injury occurred “while practicing for

or participating in any sports or athletic contest or exhibition” sponsored by the

Insureds, the Athletics or Sports Participants Exclusion to the HIC policy applies

such that HIC is entitled to a declaration that it has no obligation under the HIC

Policy to indemnify Carly’s Neighborhood Bar and Grill, LLC, Dara and Jack’s

Place, and Jack’s Place against any settlement or judgment that may be entered in

the Wilkerson Action.

      WHEREFORE, plaintiff, Hospitality Insurance Company, requests that


                                           13
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 15 of 110



judgment be entered in its favor, and that the Court enter an order declaring that

Hospitality Insurance Company is not required to indemnify Carly’s Neighborhood

Bar and Grill, LLC, Dara and Jack’s Place, and Jack’s Place against any judgment

or settlement that may be entered in the Wilkerson Action.

                               BENNETT, BRICKLIN & SALTZBURG LLC

                          BY: /s Nicholas A. Cummins
                              NICHOLAS A. CUMMINS
                              IDENTIFICATION NO. 203238
                              1601 MARKET STREET, 16TH FLOOR
                              PHILADELPHIA, PA 19103
                              (267) 561-4300
                              (267) 561-6661 (Facsimile)
                              cummins@bbs-law.com
                              Attorney for Plaintiff,
                              Hospitality Insurance Company
Date: May 24, 2018




                                        14
   Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 16 of 110




                         EXHIBIT A
                 To Complaint for Declaratory Judgment
Hospitality Insurance Company v. Carley’s Neighborhood Bar & Grill, et al.
                 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 17 of 110


                                                                          For Prothonotary Use Only:

                                                                          Docket No:

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    Commencement of Action:                                                                                         ·,            C->      Cl
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s    D Transfer from Another Jurisdiction                          D
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E
C   Lead Plaintiffs Name:                                                 Lead Defendant's Name:
     TARAY WILKERSON                                                        DARA and JACK'S PLACE
T
                                                                             Dollar Amount Requested:         ,cJ witbf; arbitmion lhruts
I   Are money damages requested?               ~Yes         D No                   (check one)                    ~ outsfr& arbli:bltiorr1imits
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N   Is this a Class Action Suit?               Cl Yes       lf?il No         Is this an MDJ Appeal?                      ID Yes       lim No

A          Name of Plaintiff/Appellant's Attorney: _M_ic_h_a_el_W_._La_n_d_is-'",_E_s"""Q_.- - - - - - - - - - - - - - - - - - -
                       0     Check here if you have no attorney (are a Self-Represented [Pro Se] Litigant)

    Nature of the Case:           Place an "X" to the left of the ONE case category that most accurately describes your
                                  PRIMARY CASE. If you are making more than one type of claim, check the one that
                                  you consider most important.

    TORT (do not include Mass Tort)               CONTRACT (do not include Judgments)              CIVIL APPEALS
      D    Intentional                              D    Buyer Plaintiff                            Administrative Agencies
      D    Malicious Prosecution                    D    Debt Collection: Credit Card               D Board of Assessment
      D    Motor Vehicle                            D    Debt Collection: Other                     Cl Board of Elections
      D    Nuisance                                                                                 D Dept. of Transportation
      D    Premises Liability                                                                       0 Statutory Appeal: Other
s     D Product Liability (does not include         Cl Employment Dispute:
           mass tort)
E     D Slander/Libel/ Defamation                        Discrimination
c     ffEl Other:
            Neglii:ience, assault,
                                                    D Employment Dispute: Other                     D Zoning Board
                                                                                                    D    Other:
T           conspiracy, etc.
I                                                   Cl Other:
    MASS TORT
0     Cl   Asbestos
N     CJ   Tobacco
      CJ   Toxic Tort - DES
      D    Toxic Tort - Implant                   REAL PROPERTY                                    MISCELLANEOUS
      D    Toxic Waste
                                                    D    Ejectment                                  0    Common Law/Statutory Arbitration
      0    Other:                                   D    Eminent Domain/Condemnation                0    Declaratory Judgment
B                                                   0    Ground Rent                                CJ   Mandamus
                                                    DJ   Landlord!fenant Dispute                    0    Non-Domestic Relations
                                                    0    Mortgage Foreclosure: Residential               Restraining Order
    PROFESSIONAL LIABLITY                           D    Mortgage Foreclosure: Commercial           D    Quo Warranto
      CJ   Dental                                   0    Partition                                  0    Replevin
      Cl   Legal                                    D    Quiet Title                                0    Other:
      D    Medical                                  D    Other:
      0    Other Professional:



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           Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 18 of 110




   LOWENTHAL & ABRAMS, P.C.
   By: Michael W. Landis, Esquire                                                MAJOR JURY
                                                                                                                           17 OCT 25 PM 2: 02
   Attorney I.D. No. 90525
   555 City Line Avenue, Suite 500
   Bala Cynwyd, PA 19004
    (610) 667-7511                                                               Attorneys for Plaintiffs


   TARAY WILKERSON                                                               COURT OF COMMON PLEAS
   714 Lincoln Way East                                                          FRANKLIN COUNTY
   Chambersburg, PA 17201

             v.
   DARA AND JACK'S PLACE
   464 Hollywell Avenue
   Chambersburg, PA 17201                                                        JURY TRIAL DEMANDED

             and

   CARLEY'S NEIGHBORHOOD BAR
   AND GRILL, LLC
   464 Hollywell Avenue
   Chambersburg, PA 17201

            and

   JACK'S PLACE
   464 Hollywell Avenue
   Chambersburg, PA 17201

           and

   ESAU LASHOW SCOTT
   808 N. 32nd Street
   Fort Pierce, FL 34947


                                                                     NOTICE

                      "NOTICE"                                                                            "AVISO"
                                                                            "Le han demandado en carte. Si usted dcsea defender contra las demandas
You have been sued in court. If you wish to defend against the claims       dispucstas en las paginas siguicntcs, ustcd debe tomar la acci6n en el plazo de veinte
set forth in the following pages, you must take action within twenty (20)   (20) dias despucs de esta queja y se sirve el aviso, incorporando un aspccto escrito
days after this complaint and notice are served, by entering a written      personalmente o y archivando en escribir con la corte sus defensas u objeciones a las
appearance personally or by attorney and filing in writing with the court   dcmandas dispucstas contra usted el abogado le advierte que que si usted no puedc
your defenses or objections to the claims set forth against you. you are    hacer asi que el caso puedc proccder sin usted y un juicio sc pucdc incorporar contra
warned that if you fail to do so the case may proceed without you and a




                                                                                                      TIMOTHY S. SPONSr.:tJER PROTIIONOTARY
          Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 19 of 110



judgment may be entered against you buy the court without further         usted compra la corte sin a\iso aclicional para cualquier dinero demandado en la
notice for any money claimed in the complaint or for any other claim or   queja o para cualquier otra demanda o rele1"aci6n pedida por el demandante. Usted
relief requested by the plaintiff. You may lose money or property of      puede perder el dinero o la caractcristica de otra endereza importante a usted.
other rights important to you.
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YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                              SI U~TED NO HACE QUE UN ABOGADO VAYAA 0 LLAME POR
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OFFICE MAY BE ABLE TO PROVIDE YOU WITH INFORMATION                        JURIDICOS DE LA OFERTA DE MAYO A LAS PERSONAS ELEGIBLES Et'I'
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ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.
            LAWYER REFERENCE SERVICE                                                      SERVICIO DE REFERENCIA LEGAL
                FRANKLIN COUNTY                                                           FRANKLIN COUNTY
                PENNSYLVANIA BAR ASSOCIATION                                              PENNSYLVANIA BAR ASSOCIATION
                P.O. BOX 186                                                              P.O.BOXI86
                HARRISBURG, PA 17108                                                      HARRISBURG, PA 17108




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    Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 20 of 110




LOWENTHAL & ABRAMS, P.C.
By: Michael W. Landis, Esquire                         MAJOR JURY
Attorney I.D. No. 90525
555 City Line Avenue, Suite 500
Bala Cynwyd, PA 19004
 (610) 667-7511                                        Attorneys for Plaintiffs


TARAY WILKERSON                                        COURT OF COMMON PLEAS
714 Lincoln Way East                                   FRANKLIN COUNTY
Chambersburg, PA 17201

     v.                                                NO.

DARA AND JACK'S PLACE
464 Hollywell Avenue
Chambersburg, PA 17201                                 JURY TRIAL DEMANDED

     and

CARLEY'S NEIGHBORHOOD BAR
AND GRILL, LLC
464 Hollywell Avenue
Chambersburg, PA 17201

    and

JACK'S PLACE
464 Hollywell Avenue
Chambersburg, PA 17201

    and

ESAU LASHOW SCOTT
808 N. 32°d Street
Fort Pierce, FL 34947


                             COMPLAINT - PERSONAL INJURY

      1.        Plaintiff, Taray Wilkerson, is an adult individual, citizen and resident of the

   Commonwealth of Pennsylvania, residing at the address listed in the caption of this

   Complaint.



                                                  3
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 21 of 110




    2.      Defendant, Dara & Jack's Place, is a business entity or corporation doing business

in the Borough of Chambersburg and Commonwealth of Pennsylvania and at all times

material hereto was the owner, operator, manager, maintainer, supervisor, possessor, lessor,

lessee and/or otherwise legally responsible for the bar and/or restaurant premises located at

464 Hollywell Avenue, Chambersburg, PA 17201 (hereinafter referred to as the "premises").

    3.     At all times material hereto, defendant, Dara & Jack's Place, acted individually

and/or failed to act individually, through its agents, workers, employees, servants and staff,

who were acting within the course and scope of their agency and/or employment with the

Defendant, Dara & Jack's Place, and/or the other Defendants herein.

   4.      At all times relevant hereto, the Defendant, Dara & Jack's Place, owned,

possessed, supervised, managed, leased, controlled and/or was otherwise responsible for the

care, custody, control, supervision and maintenance of the premises.

   5.      Defendant, Carley's Neighborhood Bar and Grill, LLC, is a business entity or

corporation doing business in the Borough of Chambersburg and Commonwealth of

Pennsylvania and at all times material hereto was the owner, operator, manager, maintainer,

supervisor, possessor, lessor, lessee and/or otherwise legally responsible for the bar, tavern

and/or restaurant upon the premises.

   6.      At all times material hereto, defendant, Carley's Neighborhood Bar and Grill,

LLC, acted individually and/or failed to act individually, through its agents, workers,

employees, servants and staff, who were acting within the course and scope of their agency

and/or employment with the Defendant, Carley's Neighborhood Bar and Grill, LLC, and/or

the other Defendants herein.




                                             4
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 22 of 110



    7.     At all times relevant hereto, the Defendant, Carley's Neighborhood Bar and Grill,

LLC, owned, possessed, supervised, managed, leased, controlled and/or was otherwise

responsible for the care, custody, control, supervision and maintenance of the premises.

    8.     Defendant, Jack's Place, is a business entity or corporation doing business in the

Borough of Chambersburg and Commonwealth of Pennsylvania and at all times material

hereto was the owner, operator, manager, maintainer, supervisor, possessor, lessor, lessee

and/or otherwise legally responsible for the bar, tavern and/or restaurant upon the premises.

    9.     At all times material hereto, defendant, Jack's Place, acted individually and/or

failed to act individually, through its agents, workers, employees, servants and staff, who

were acting within the course and scope of their agency and/or employment with the

Defendant, Jack's Place, and/or the other Defendants herein.

    10.    At all times relevant hereto, the Defendant, Jack's Place, owned, possessed,

supervised, managed, leased, controlled and/or was otherwise responsible for the care,

custody, control, supervision and maintenance of the premises.

    11.    Defendant, Esau Lashow Scott, is an adult individual, citizen and resident of the

State of Florida and residing in the Commonwealth of Pennsylvania with an address listed in

the caption of this Complaint, and which at all times material hereto was a patron, customer,

invitee, occupant and/or a duly authorized, servant, employee, volunteer and/or agent and/or

worker of the other Defendants herein and was at all times material hereto upon the premises.

    12.    At all times herein material, Defendants, Dara and Jack's Place, Carley's

Neighborhood Bar and Grill, LLC, and Jack's Place (hereinafter collectively referred to as

the "Bar Defendants"), were either acting individually and/or by through their/his/her/its duly

authorized agents, servants, workman and/or employees who were acting in the course and




                                             5
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 23 of 110



scope of their/his/her employment and in the furtherance of the Bar Defendants' businesses

and affairs.

    13.        At all times herein material, Defendant, Esau Lashow Scott, was either acting

individually and/or by through his duly authorized agents and servants who were acting in

the course and scope of their/his/her employment and in the furtherance of Defendant Scott's

businesses and affairs.

    14.        On or about Thursday, and in to Friday morning, November 5, 2015, and

November 6, 2015, the Bar Defendants either individually, jointly and/or severally, did own,

possess, operate and control for his/their/its own business, and/or by and through his/their/its

duly authorized agents, servants, workmen, bartenders and/or employees acting within the

scope of their employment and in furtherance of the business of said Defendants, the bar

and/or tavern located at the premises identified above, and at all material times herein, held

said premises open to the public for the purpose of vending and furnishing alcoholic

beverages and other items as a dramshop to the public.

    15.    On or about Friday, November 6, 2015, at approximately 1:30 a.m., Plaintiff was

a business invitee and/or paying guest, lawfully and properly upon the premises of the Bar

Defendants' aforesaid bar, tavern and/or restaurant at the above address, when Plaintiff was

caused to be injured due to the intentional, negligent and/or careless conduct of each of the

Defendants, either acting individually and/or by and through his/their/its duly authorized

agents, servants, workmen, bartenders, employees and/or bailees who were acting within the

course and scope of their employment and authority.

   16.     The Bar Defendants' employees intentionally, willfully, maliciously, wantonly,

carelessly and/or negligently allowed, authorized and/or approved conduct that would cause




                                               6
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 24 of 110




harm to the body of the Plaintiff, which physical contact was unprovoked, unconsented to

and excessive in nature.

    17.     The Bar Defendants' and their employees carelessly and/or negligently allowed,

authorized and/or approved conduct that would lead to, enhance, accelerate and/or embrace

such likelihood of harm to the body of the Plaintiff, which physical contact was unprovoked,

unconsented to and excessive in nature.

    18.     The Bar Defendants, acting either individually and/or by and through their duly

authorized agents, servants, workmen and/or employees, acted in such a negligent manner

that they failed to properly aid and protect Plaintiff while she was lawfully on the aforesaid

premises.

    19.     The Bar Defendants, individually, jointly and/or severally, by and through

his/their/its duly authorized agents, servants, workmen, bartenders, employees, and/or bailees

caused the Plaintiff to be struck with a pool and/or billiards ball on or about various parts of

her body, and also with great force and violence, struck Plaintiff, and knocked her to the

ground.

    20.     At the aforementioned time and location, the Bar Defendants had in their employ

certain bartenders and/or bouncers who negligently and carelessly allowed Plaintiff to be

struck by such pool and/or billiards ball on or about various parts of her body.

    21.     At the aforementioned time and place, the Bar Defendants had in their employ or

were certain bartenders and/or bouncers and/or employees and individuals who negligently

and carelessly failed to address the hostile events at the time of the incident that allowed

Plaintiff to be struck with a pool and/or billiards ball.




                                               7
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 25 of 110



   22.     The Bar Defendants, either individually and/or by and through their duly

authorized agents, servants, workmen, bartenders, bouncers and/or employees, acted in such

a negligent manner that they failed to remove belligerent patrons, customers and/or others

who they served alcohol to from their premises and also failed to properly aid and protect the

Plaintiff while she was lawfully on the aforementioned premises.

   23.     The Bar Defendants had a duty to use reasonable care to select employees, agents,

servants, staff, bartenders, bouncers, workers and/or managers who were competent and fit to

perform the duties required of an employee.

   24.     The Bar Defendants knew, or should have known that their employees,

bartenders, bouncers, workers and/or managers would be likely to operate the bar, tavern

and/or restaurnant in a negligent and careless manner, and did negligently fail to perform

their duties when they hired these employees.

   25.     The Bar Defendants knew or in the exercise of reasonable care should have

known that the aforesaid employees, bartenders and/or bouncers, were not competent or fit

for the duties required of them.

   26.     Since Plaintiff was a lawful business invitee, the Bar Defendants had a duty to

protect Plaintiff from an unreasonable risk of harm.

   27.     At the aforementioned time and place and for a long time prior thereto, the Bar

Defendants failed to monitor the conduct of the workers, employees, agents, servants,

bartenders, bouncers, and/or other Defendants herein.

   28.     The Bar Defendants at no time provided adequate or proper training to their

employees, agents, bartenders, bouncers, workmen, servants and/or other Defendants herein

on handling confrontations with customers.




                                              8
  Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 26 of 110




    29.      The Bar Defendants knew, or in the exercise of reasonable supervision should

have known of the potential for violence, and it is further averred that the Bar Defendants did

fail to terminate the employees, bartenders and/or bouncers who with violate, dangerous and

careless propensities allowed the potential for violence.

    30.      The Bar Defendant employees, agents, bartenders, bouncers, workmen and/or

servants negligently, carelessly and/or recklessly instigated a fight that resulted in harm to

Plaintiff.

    31.      At the aforementioned time and place and at all times herein material, Defendant

Scott participated in such fight that resulted in harm to Plaintiff.

    32.      At the aforementioned time and place and at all times herein material, the Bar

Defendants negligently and carelessly allowed and initiated a fight involving patrons and

Defendant Scott that resulted in harm to Plaintiff.

    33.      At the aforementioned time and place and at all time herein material, the Bar

Defendants failed to appreciate the hostile environment between their employees, workmen,

bartenders and/or servants, other patrons, customers and/or guests, and Defendant Scott that

such hostility escalated and caused harm to Plaintiff.

    34.      As a result of the aforementioned negligence and carelessness of all Defendants,

Plaintiff was caused to be struck by a pool and/or billiards ball and she sustained serious,

painful and permanent injuries as more fully stated hereinafter.

                                     COUNT I
                    TARAY WILKERSON v. DARA AND JACK'S PLACE
                             Negligence/ Personal Injury

    3 5.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

inclusive, as if set forth here at length.




                                               9
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 27 of 110
J




       36.     At all times mentioned, the accident and Plaintiffs injuries and damages were

    caused by the negligence and/or carelessness of this Defendant, and the negligence and/or

    carelessness of this Defendant consisted of, inter alia, the following:

               a.      failing to employ proper and safe, agents, servants, workmen, employees,
                       bartenders, bailees and/or bouncers;

               b.      placing at the premises individuals who Defendants knew or should have
                       known to have violent and dangerous propensities and characteristics;

               c.      failing to terminate an employment agreement with individuals who
                       Defendants knew or should have known to have violent and dangerous
                       propensities and characteristics;

               d.      failing to operate, manage, supervise, control and maintain the business
                       operations in a proper, appropriate and reasonable manner so as to avoid
                       confrontations between agents, servants, bouncers, employees of
                       Defendants, business invitees, customers and/or patrons, including
                       Plaintiff;

               e.      failing to monitor the alcohol intake of their/its guests;

               f.      tacitly allowing the attack to happen;

               g.      failing to adequately staff and supervise a bar and restaurant open to the
                       public;

               h.      failing to exercise proper and adequate control, instruction and supervision
                       of their agents, servants, workers, bouncers and/or employees, and their/its
                       guests or patrons;

               1.      being otherwise careless in the operation of a bar and restaurant;

              J.       failing to properly train and instruct employees as to the performance of
                       their duties;

               k.      engaging in such other tortious acts or omissions as discovery in this case
                       may reveal;

               l.     failing to properly assist and aid Plaintiff while she was upon the premises
                      from being battered and assaulted by other guests, customers and/or
                      patrons of the Bar Defendants and other Defendants herein;




                                                 10
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 28 of 110




           m.     failing to implement training programs for agents, servants and employees
                  bartenders and/or bouncers in handling emergency situations at the
                  restaurant, bar and/or tavern;

           n.     failing to properly instruct its/their agents, servants, workmen, employees,
                  bouncers and/or bailees;

           o.     failing to protect Plaintiff as a business invitee and/or paying guest from
                  harm in a proper, safe and prompt fashion;

           p.     allowing and condoning the events which led to the harm caused upon
                  Plaintiff;

           q.     failing to remove other unruly and rowdy patrons from the premises;

           r.     failing to use due care under the circumstances;

           s.     failing to promptly call the police when events began which led to Plaintiff
                  being struck, battered and assaulted;

           t.     failing to have properly trained security guards and/or bouncers;

           u.     negligently causing fear, terror and fright within the Plaintiff;

           v.     failing to perform background checks on employees, agents, workers
                  and/or bouncers;

           w.     failing to have policies on handling confrontations with customers;

           x.     negligently creating an atmosphere of violence;

           y.     failing to monitor the alcohol intake of the employees and/or bouncers and
                  customers, guests or patrons;

           z.     negligently serving alcoholic beverages to intoxicated individuals;

           aa.    failing to require intervention training, like T.l.P.S., or other similar
                  training of its servers and/or bouncers and/or employees; and

           bb.    being otherwise careless and negligent under the law and violating the
                  Liquor Code, 47 Section 1-101, et seq., and/or 47 P.S. Section 4-493, et
                  seq.

   37.     As a direct result of the negligent and/or careless conduct of Defendants, Plaintiff

suffered various serious and permanent personal injuries, serious impairments of body



                                             11
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 29 of 110




functions and/or permanent serious disfigurement, and/or aggravation of pre-existing

conditions, including but not limited to: orbital fracture and laceration to her left eye,

injuries to her head, face, eyes and vision impairment, scarring to her face and head, and

neurological and emotional injuries, and any other ills and injuries all to Plaintiffs great loss

and detriment.

    38.      As a result of the negligence and carelessness of Defendants, Plaintiffs injuries

caused and continue to cause pain, discomfort, and limitation of motion, all of which may be

permanent.

    39.      As a result of these injures, all of which are to Plaintiffs great financial detriment

and loss, Plaintiff has in the past, is presently and may in the future suffer great pain,

anguish, sickness and agony and will continue to suffer for an indefinite time.

    40.      Furthermore as a result and in addition to all the injuries and losses suffered,

Plaintiff has incurred or will incur medical, rehabilitative and other related expenses in the

amount equal to and/or in excess of any applicable health insurance coverage for which

Plaintiff has not been reimbursed and upon which the Plaintiff makes a claim for payment in

the present action.

   41.      As a further result of the negligence and carelessness of Defendants, Plaintiff has

sustained a loss of earnings and a loss of earning capacity.

   42.      As a direct and proximate result of Defendants' negligence and carelessness,

Plaintiff has incmTed, and will in the future incur other financial and economic losses,

including medical expenses for the diagnosis, treatment, such as surgical intervention and

injections, and rehabilitation of the injuries sustained as a result of the accident.




                                               12
     Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 30 of 110



       43.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

    been unable to attend to normal duties and activities, and sustained a diminution in the ability

   to enjoy life and life's pleasures.

       44.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

   suffered physical and emotional pain and suffering.

       45.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

   been prevented and may be prevented in the future from performing his usual duties,

   occupations and vocations, all to his great loss and detriment.

       WHEREFORE Plaintiff demands judgment in Plaintiffs favor and against

Defendants, jointly and severally, in an amount in excess of Fifty Thousand Dollars

($50,000.00), plus all reasonable costs and interest and such other relief as this Honorable Court

deems appropriate.

                                 COUNT II
     TARAY WILKERSON v. CARLEY'S NEIGHBORHOOD BAR AND GRILL, LLC
                         Negligence/ Personal Injury

       46.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

   inclusive, as if set forth here at length.

       47.     At all times mentioned, the accident and Plaintiffs injuries and damages were

   caused by the negligence and/or carelessness of this Defendant, and the negligence and/or

   carelessness of this Defendant consisted of, inter alia, the following:

               a.      failing to employ proper and safe, agents, servants, workmen, employees,
                       bartenders, bailees and/or bouncers;

               b.      placing at the premises individuals who Defendants knew or should have
                       known to have violent and dangerous propensities and characteristics;




                                                 13
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 31 of 110



       c.   failing to terminate an employment agreement with individuals who
            Defendants knew or should have known to have violent and dangerous
            propensities and characteristics;

       d.   failing to operate, manage, supervise, control and maintain the business
            operations in a proper, appropriate and reasonable manner so as to avoid
            confrontations between agents, servants, bouncers, employees of
            Defendants, business invitees, customers and/or patrons, including
            Plaintiff;

       e.   failing to monitor the alcohol intake of their/its guests;

       f.   tacitly allowing the attack to happen; .

      g.    failing to adequately staff and supervise a bar and restaurant open to the
            public;

      h.    failing to exercise proper and adequate control, instruction and supervision
            of their agents, servants, workers, bouncers and/or employees, and their/its
            guests or patrons;

       i.   being otherwise careless in the operation of a bar and restaurant;

      j.    failing to properly train and instruct employees as to the performance of
            their duties;

      k.    engaging in such other tortious acts or omissions as discovery in this case
            may reveal;

      I.    failing to properly assist and aid Plaintiff while she was upon the premises
            from being battered and assaulted by other guests, customers and/or
            patrons of the Bar Defendants and other Defendants herein;

      m.    failing to implement training programs for agents, servants and employees
            bartenders and/or bouncers in handling emergency situations at the
            restaurant, bar and/or tavern;

      n.    failing to properly instruct its/their agents, servants, workmen, employees,
            bouncers and/or bailees;

      o.    failing to protect Plaintiff as a business invitee and/or paying guest from
            harm in a proper, safe and prompt fashion;

      p.    allowing and condoning the events which led to the harm caused upon
            Plaintiff;




                                      14
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 32 of 110



            q.      failing to remove other unruly and rowdy patrons from the premises;

            r.      failing to use due care under the circumstances;

            s.      failing to promptly call the police when events began which led to Plaintiff
                    being struck, battered and assaulted;

            t.      failing to have properly trained security guards and/or bouncers;

            u.      negligently causing fear, terror and fright within the Plaintiff;

            v.      failing to perform background checks on employees, agents, workers
                    and/or bouncers;

            w.      failing to have policies on handling confrontations with customers;

            x.      negligently creating an atmosphere of violence;

            y.     failing to monitor the alcohol intake of the employees and/or bouncers and
                   customers, guests or patrons;

            z.      negligently serving alcoholic beverages to intoxicated individuals;

           aa.     failing to require intervention training, like T.I.P.S., or other similar
                   training of its servers and/or bouncers and/or employees; and

            bb.    being otherwise careless and negligent under the law and violating the
                   Liquor Code, 47 Section 1-101, et seq., and/or 47 P.S. Section 4-493, et
                   seq.

    48.     As a direct result of the negligent and/or careless conduct of Defendants, Plaintiff

suffered various serious and permanent personal injuries, serious impairments of body

functions and/or pe1manent serious disfigurement, and/or aggravation of pre-existing

conditions, including but not limited to: orbital fracture and laceration to her left eye,

injuries to her head, face, eyes and vision impairment, scarring to her face and head, and

neurological and emotional injuries, and any other ills and injuries all to Plaintiffs great loss

and detriment.




                                              15
  Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 33 of 110



    49.      As a result of the negligence and carelessness of Defendants, Plaintiff's injuries

caused and continue to cause pain, discomfort, and limitation of motion, all of which may be

permanent.

    50.      As a result of these injures, all of which are to Plaintiff's great financial detriment

and loss, Plaintiff has in the past, is presently and may in the future suffer great pain,

anguish, sickness and agony and will continue to suffer for an indefinite time.

    51.      Furthermore as a result and in addition to all the injuries and losses suffered,

Plaintiff has incurred or will incur medical, rehabilitative and other related expenses in the

amount equal to and/or in excess of any applicable health insurance coverage for which

Plaintiff has not been reimbursed and upon which the Plaintiff makes a claim for payment in

the present action.

    52.      As a further result of the negligence and carelessness of Defendants, Plaintiff has

sustained a loss of earnings and a loss of earning capacity.

    53.     As a direct and proximate result of Defendants' negligence and carelessness,

Plaintiff has incurred, and will in the future incur other financial a:nd economic losses,

including medical expenses for the diagnosis, treatment, such as surgical intervention and

injections, and rehabilitation of the injuries sustained as a result of the accident.

    54.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been unable to attend to normal duties and activities, and sustained a diminution in the ability

to enjoy life and life's pleasures.

    55.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

suffered physical and emotional pain and suffering.




                                               16
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 34 of 110



    56.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been prevented and may be prevented in the future from performing his usual duties,

occupations and vocations, all to his great loss and detriment.

    WHEREFORE Plaintiff demands judgment in Plaintiffs favor and against Defendants,

jointly and severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus all

reasonable costs and interest and such other relief as this Honorable Court deems appropriate.

                                        COUNT Ill
                          TARAY WILKERSON v. JACK'S PLACE
                                . Negligence/ Personal Injury

    57.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

inclusive, as if set forth here at length.

    58.     At all times mentioned, the accident and Plaintiffs injuries and damages were

caused by the negligence and/or carelessness of this Defendant, and the negligence and/or

carelessness of this Defendant consisted of, inter alia, the following:

            a.      failing to employ proper and safe, agents, servants, workmen, employees,
                    bartenders, bailees and/or bouncers;

            b.      placing at the premises individuals who Defendants knew or should have
                    known to have violent and dangerous propensities and characteristics;

            c.      failing to te1minate an employment agreement with individuals who
                    Defendants knew or should have known to have violent and dangerous
                    propensities and characteristics;

            d.      failing to operate, manage, supervise, control and maintain the business
                    operations in a proper, appropriate and reasonable manner so as to avoid
                    confrontations between agents, servants, bouncers, employees of
                    Defendants, business invitees, customers and/or patrons, including
                    Plaintiff;

            e.      failing to monitor the alcohol intake of their/its guests;

            f.      tacitly allowing the attack to happen;




                                              17
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 35 of 110




       g.   failing to adequately staff and supervise a bar and restaurant open to the
            public;

       h.   failing to exercise proper and adequate control, instruction and supervision
            of their agents, servants, workers, bouncers and/or employees, and their/its
            guests or patrons;

       1.   being otherwise careless in the operation of a bar and restaurant;

       J.   failing to properly train and instruct employees as to the performance of
            their duties;

       k.   engaging in such other tortious acts or omissions as discovery in this case
            may reveal;

       l.   failing to properly assist and aid Plaintiff while she was upon the premises
            from being battered and assaulted by other guests, customers and/or
            patrons of the Bar Defendants and other Defendants herein;

       m.   failing to implement training programs for agents, servants and employees
            bartenders and/or bouncers in handling emergency situations at the
            restaurant, bar and/or tavern;

       n.   failing to properly instruct its/their agents, servants, workmen, employees,
            bouncers and/or bailees;

       o.   failing to protect Plaintiff as a business invitee and/or paying guest from
            harm in a proper, safe and prompt fashion;

       p.   allowing and condoning the events which led to the harm caused upon
            Plaintiff;

       q.   failing to remove other unruly and rowdy patrons from the premises;

       r.   failing to use due care under the circumstances;

       s.   failing to promptly call the police when events began which led to Plaintiff
            being struck, battered and assaulted;

      t.    failing to have properly trained security guards and/or bouncers;

       u.   negligently causing fear, terror and fright within the Plaintiff;

      v.    failing to perform background checks on employees, agents, workers
            and/or bouncers;




                                      18
  Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 36 of 110



             w.      failing to have policies on handling confrontations with customers;

             x.      negligently creating an atmosphere of violence;

             y.      failing to monitor the alcohol intake of the employees and/or bouncers and
                     customers, guests or patrons;

             z.      negligently serving alcoholic beverages to intoxicated individuals;

             aa.     failing to require intervention training, like T.I.P.S., or other similar
                     training of its servers and/or bouncers and/or employees; and

             bb.     being otherwise careless and negligent under the law and violating the
                     Liquor Code, 47 Section 1-101, et seq., and/or 47 P.S. Section 4-493, et
                     seq.

    59.      As a direct result of the negligent and/or careless conduct of Defendants, Plaintiff

suffered various serious and permanent personal injuries, serious impairments of body

functions and/or permanent serious disfigurement, and/or aggravation of pre-existing

conditions, including but not limited to: orbital fracture and laceration to her left eye,

injuries to her head, face, eyes and vision impairment, scarring to her face and head, and

neurological and emotional injuries, and any other ills and injuries all to Plaintiffs great loss

and detriment.

    60.      As a result of the negligence and carelessness of Defendants, Plaintiffs injuries

caused and continue to cause pain, discomfort, and limitation of motion, all of which may be

permanent.

    61.      As a result of these injures, all of which are to Plaintiffs great financial detriment

and loss, Plaintiff has in the past, is presently and may in the future suffer great pain,

anguish, sickness and agony and will continue to suffer for an indefinite time.

   62.       Furthermore as a result and in addition to all the injuries and losses suffered,

Plaintiff has incurred or will incur medical, rehabilitative and other related expenses in the




                                               19
  Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 37 of 110



amount equal to and/or in excess of any applicable health insurance coverage for which

Plaintiff has not been reimbursed and upon which the Plaintiff makes a claim for payment in

the present action.

    63.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

sustained a loss of earnings and a loss of earning capacity.

    64.     As a direct and proximate result of Defendants' negligence and carelessness,

Plaintiff has incurred, and will in the future incur other financial and economic losses,

including medical expenses for the diagnosis, treatment, such as surgical intervention and

injections, and rehabilitation of the injuries sustained as a result of the accident.

    65.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been unable to attend to normal duties and activities, and sustained a diminution in the ability

to enjoy life and life's pleasures.

    66.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

suffered physical and emotional pain and suffering.

    67.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been prevented and may be prevented in the future from performing his usual duties,

occupations and vocations, all to his great loss and detriment.

   WHEREFORE Plaintiff demands judgment in Plaintiffs favor and against Defendants,

jointly and severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus all

reasonable costs and interest and such other relief as this Honorable Court deems appropriate.




                                              20
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 38 of 110



                                 COUNT IV
                    TARAY WILKERSON v. ESAU LASHOW SCOTT
                                  Negligence

    68.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

inclusive, as if set forth here at length.

    69.     At all times mentioned, the accident and Plaintiffs injuries and damages were

caused by the negligence and/or carelessness of this Defendant, and the negligence and/or

carelessness of this Defendant consisted of, inter alia, the following:

            a.      failing to keep control and causing a fight;

            b.      placing at the premises himself and individuals which Defendants knew or
                    should have known to have violent and dangerous propensities and
                    characteristics;

            c.      failing to deescalate confrontations with individuals who Defendant knew
                    or should have known to have violent and dangerous propensities and
                    characteristics;

            d.      failing to control, restrain and maintain conduct in a proper, appropriate
                    and reasonable manner so as to avoid confrontations between other
                    business invitees and/or patrons of the Bar Defendants, including Plaintiff;

            e.      drinking intoxicating liquors in an unreasonable and careless manner;

            f.      tacitly allowing the attack to happen;

            g.      failing to exercise proper and adequate control, instruction and supervision
                    of himself, his agents, servants, or others for whom he was with at the
                    tavem, bar and/or restaurant;

            h.      being otherwise careless and reckless;

            1.      engaging in such other tortious acts or omissions as discovery in this case
                    may reveal;

           J·       failing to properly assist and aid Plaintiff while she was struck, battered
                    and assaulted by Defendants;




                                              21
  Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 39 of 110



             k.     failing to maintain a safe environment for all individuals at the tavern, bar
                    and/or restaurant and failing to protect Plaintiff from harm in a proper,
                    safe and prompt fashion;

             I.     allowing and condoning the striking of Plaintiff;

             m.     striking, assaulting and battering Plaintiff while she was at the tavern;

             n.     failing to use due care under the circumstances;

             o.     failing to promptly call the police when Plaintiff was struck, battered and
                    assaulted;

             p.     striking the Plaintiff in the face with a pool and/or billiards ball;

             q.     negligently causing fear, terror and fright within the Plaintiff; and

             r.     negligently creating an atmosphere of violence.


   70.       As a direct result of the negligent and/or careless conduct of Defendants, Plaintiff

suffered various serious and permanent personal injuries, serious impairments of body

functions and/or permanent serious disfigurement, and/or aggravation of pre-existing

conditions, including but not limited to: orbital fracture and laceration to her left eye,

injuries to her head, face, eyes and vision impairment, scarring to her face and head, and

neurological and emotional injuries, and any other ills and injuries all to Plaintiff's great loss

and detriment.

   71.       As a result of the negligence and carelessness of Defendants, Plaintiffs injuries

caused and continue to cause pain, discomfort, and limitation of motion, all of which may be

permanent.

    72.      As a result of these injures, all of which are to Plaintiffs great financial detriment

and loss, Plaintiff has in the past, is presently and may in the future suffer great pain,

anguish, sickness and agony and will continue to suffer for an indefinite time.




                                               22
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 40 of 110



    73.     Furthermore as a result and in addition to all the injuries and losses suffered,

Plaintiff has incurred or will incur medical, rehabilitative and other related expenses in the

amount equal to and/or in excess of any applicable health insurance coverage for which

Plaintiff has not been reimbursed and upon which the Plaintiff makes a claim for payment in

the present action.

    74.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

sustained a loss of earnings and a loss of earning capacity.

    75.     As a direct and proximate result of Defendants' negligence and carelessness,

Plaintiff has incurred, and will in the future incur other financial and economic losses,

including medical expenses for the diagnosis, treatment, such as surgical intervention and

injections, and rehabilitation of the injuries sustained as a result of the accident.

    76.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been unable to attend to normal duties and activities, and sustained a diminution in the ability

to enjoy life and life's pleasures.

    77.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

suffered physical and emotional pain and suffering.

    78.     As a further result of the negligence and carelessness of Defendants, Plaintiff has

been prevented and may be prevented in the future from performing his usual duties,

occupations and vocations, all to his great loss and detriment.




                                              23
   Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 41 of 110



      WHEREFORE Plaintiff demands judgment in Plaintiff's favor and against Defendants,

jointly and severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus all

reasonable costs and interest and such other relief as this Honorable Court deems appropriate

                                     COUNTV
                        TARAY WILKERSON v. ALL DEFENDANTS
                                 Assault and Battery

     79.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

 inclusive, as if set forth here at length.

     80.      As a result of the aforementioned negligence, recklessness and carelessness

 conduct of the Defendants, Plaintiff was caused to be struck by a pool and/or billiards ball

 and sustained serious, painful and permanent injuries.

      WHEREFORE Plaintiff demands judgment in Plaintiff's favor and against Defendants,

 jointly and severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus all

 reasonable costs and interest and such other relief as this Honorable Court deems appropriate.

                                    COUNT VI
                        TARAY WILKERSON v. ALL DEFENDANTS
                                    Conspiracy

     81.     Plaintiff incorporates herein the allegations set forth in the previous paragraphs,

 inclusive, as if set forth here at length.

     82.     Defendants, employees, managers, agents, worklnen and/or bouncers conspired to

 work together to create a hostile environment within the bar, tavern and/or restaurant thereby

 allowing the assault, battery, and injuries to Plaintiff.

     83.     These actions were unlawful and/or taken for an unlawful purpose in furtherance

 of the plan to promote the business and profitability of the Defendants and to also deprive

 Plaintiff of her rights.




                                                24
 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 42 of 110



    84.        Defendants by and through themselves, or through their employees, managers,

agents, servants, bartenders and/or bouncers agreed to, inter alia, the following:

          a. allow the hostile atmosphere and gamesmanship to develop over the pool and/or

               billiards gaming area of the tavern, bar and/or restaurant;

          b. engage in such gamesmanship without due regard for the safety of others;

          c. failing to protect those within the tavern, bar and/or restaurant and who were

               invitees of the Bar Defendants, like Plaintiff;

          d. failing to monitor the intake by patrons, customers and/or guests of intoxicating

               liquors and/or drinks, thereby allowing the hostile environment to escalate in a

               dangerous and careless manner;

          e. wanton, maliciously and/or recklessly placing Plaintiff in harm's way;

          f.   wanton, maliciously and/or recklessly creating an unsafe environment for

               Plaintiff; and

          g. allowing Defendants and other patrons, customers and/or guests to use items, like

               pool and/or billiards balls, in a hostile, dangerous and/or careless manner.

    85.        The Bar Defendants, employees, managers, servants, agents and/or bouncers,

acting with the course and scope of their authority performed these and other ove1t acts with

other Defendants herein in furtherance of the conspiracy.

    86.        These actions were tortious, negiligent, careless, reckless, and jointly undertaken

by Defendants in pursuit of a common goal of generating business, profits and

gamesmanship that would create and develop hostile, dangerous and inimical actions that led

to inflicting injury upon individuals within the bar, tavern and/or restaurant, like Plaintiff.




                                                25
        Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 43 of 110



         87.   As a result of this conspiracy, Plaintiff was caused to be stuck and did sustain

   serious, painful and permanent injuries as abovedescribed.

         WHEREFORE Plaintiff demands judgment in Plaintiff's favor and against Defendants,

   jointly and severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus all

   reasonable costs and interest and such other relief as this Honorable Court deems appropriate.

                                             Respectfully submitted,

                                             LOWENTHAL & ABRAMS, P.C.


                                      By:
                                            ~Michael W. Landis, Esquire
Date:                                        Attorney for Plaintiff




INTERROGATORIES, REQUESTS FOR PRODUCTION OF DOCUMENTS, SUPPLEMNTAL
REQUESTS AND REQUEST FOR ADMISSIONS ARE SERVED ATTACHED TO PLAINTIFFS'
COMPLAINT AT THE TIME SERVICE OF ORIGINAL PROCESS IS AND/OR WAS EFFECTED.




                                                26
         Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 44 of 110


                                         VERJFlCATlON



       I, Taray Wilkerson, hereby veriJ}' that l run the Plaintiff in the within      ~ction;   that the

statements made. in the foregoing Cmnplaint are true and correct to best of my            knowledge~

intorma.tion and belief;, and that this Verification is made subject 10 the penalties of 18 P.a. Cons.

Stat. Ann. § 4904, relating to unswom falsification to authorities.
   Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 45 of 110




                          EXHIBIT B
                 To Complaint for Declaratory Judgment
Hospitality Insurance Company v. Carley’s Neighborhood Bar & Grill, et al.




                                    2
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 46 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 47 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 48 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 49 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 50 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 51 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 52 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 53 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 54 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 55 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 56 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 57 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 58 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 59 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 60 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 61 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 62 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 63 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 64 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 65 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 66 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 67 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 68 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 69 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 70 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 71 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 72 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 73 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 74 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 75 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 76 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 77 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 78 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 79 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 80 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 81 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 82 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 83 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 84 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 85 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 86 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 87 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 88 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 89 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 90 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 91 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 92 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 93 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 94 of 110
   Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 95 of 110




                         EXHIBIT C
                 To Complaint for Declaratory Judgment
Hospitality Insurance Company v. Carley’s Neighborhood Bar & Grill, et al.




                                    3
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 96 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 97 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 98 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 99 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 100 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 101 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 102 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 103 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 104 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 105 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 106 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 107 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 108 of 110
Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 109 of 110
                 Case 1:18-cv-01090-YK-SES Document 1 Filed 05/24/18 Page 110 of 110
                         COURT OF COMMON PLEAS OF FRANKLIN COUNTY
                                                                            DOCKET
                                                                                                        Docket Number: CP-28-CR-0002047-2015
                                                                                                                               CRIMINAL DOCKET
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                                                               Commonwealth of Pennsylvania
                                                                                                                                                         Page 15 of 15
                                                                           v.
                                                                   Esau Lashow Scott
     ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                             Printed: 05/24/2018

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